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1
                               UNITED STATES DISTRICT COURT
2
                              EASTERN DISTRICT OF WASHINGTON
3
4      UNITED STATES OF AMERICA,                )
                                                )    NO. CR-05-2075-EFS-4
5                        Plaintiff,             )
                                                )    ORDER GRANTING MOTION FOR
6             v.                                )    RECONSIDERATION OF DETENTION
                                                )    AND SETTING CONDITIONS OF
7                                               )    RELEASE FOLLOWING BAIL
       SABINO BAEZ RIVERA,                      )    REVIEW HEARING (Ct. Rec.
8                                               )    1651)
                         Defendant.             )
9
10          At Defendant’s January 30, 2008, bail review hearing, the

11    Defendant was present with counsel, Jeffrey Steinborn and the

12    United States was represented by Assistant U.S. Attorney Jane

13    Kirk.

14          The parties jointly requested release of defendant on

15    conditions stating there are conditions which would reasonably

16    assure defendant’s appearance as required.

17          This court has taken into account the recommendations of

18    counsel, the report and oral recommendations of U.S. Probation and

19    the evidence and information produced at this hearing and record

20    concerning appearance at court proceedings.

21          The Court found there are conditions that can be imposed that

22    will reasonably assure defendant’s presence at trial and future

23    court hearings.

24          Counsel’s joint motion for reconsideration of detention (Ct

25    Rec. 1651) is granted.

26          Upon receipt of the A. O. Form 199C, it is ORDERED that the

27    U.S. Marshall shall release defendant from custody.

28          IT IS FURTHER ORDERED, that the release of the defendant is

      ORDER GRANTING MOTION FOR RECONSIDERATION OF DETENTION AND
      SETTING CONDITIONS OF RELEASE FOLLOWING BAIL REVIEW HEARING - 1
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1     subject to the following conditions:
2           1. The defendant shall not commit any offense in violation of
3     federal, state or local law.           If the defendant does have contact
4     with law enforcement, the defendant shall contact his attorney and
5     U.S. Probation within 24 hours.
6           2.   The defendant shall advise the court and the U. S.
7     attorney in writing before any change in address.
8           3.   The defendant shall appear at all proceedings as required
9     and shall surrender for service of any sentence imposed as
10    directed.
11          4.   The defendant shall sign and complete form A.O. 199C
12    before being released and shall reside at the address furnished.
13          5.    The defendant shall remain in the Eastern District of
14    Washington while the case is pending.             On a showing of necessity,
15    the defendant may obtain written permission from U.S. Probation to
16    travel outside the Eastern District of Washington.
17          6.    The defendant shall maintain or actively seek
18    employment.
19          7.   The defendant shall not possess a firearm, destructive
20    device or other dangerous weapon.
21          8.   Defendant is further advised, pursuant to 18 U.S.C. §
22    922(n), it is unlawful for any person who is under indictment for
23    a crime punishable by imprisonment for a term exceeding one year
24    to ship or transport in interstate or foreign commerce any firearm
25    or ammunition or receive any firearm or ammunition which has been
26    shipped or transported in interstate or foreign commerce.
27          9.   The defendant shall refrain from the use of alcohol, and
28    the use or possession of a narcotic drug and other controlled

      ORDER GRANTING MOTION FOR RECONSIDERATION OF DETENTION AND
      SETTING CONDITIONS OF RELEASE FOLLOWING BAIL REVIEW HEARING - 2
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1     substances defined in 21 U.S.C. § 802 unless prescribed by a
2     licensed medical practitioner.          Defendant shall undergo a
3     substance abuse evaluation and complete treatment indicated by
4     this evaluation.        Defendant shall submit to
5     urinalysis/breathalyser testing no more than six times per month.
6     Defendant shall be responsible for the cost of testing, evaluation
7     and treatment unless the United States Probation Office should
8     determine otherwise.        The United States Probation Office shall
9     also determine the time and place of testing and evaluation and
10    the scope of treatment but shall only conduct any testing at a
11    public facility.
12          10.   The defendant shall phone his attorney at least once per
13    week and as directed.
14          11.    The defendant shall report to the United States
15    Probation Office within 24 hours of his release and shall report
16    at such times and in such manner as they direct.
17          12.    The defendant shall participate in electronically
18    monitored home confinement.        The defendant shall wear, at all
19    times, an electronic monitoring device under the supervision of
20    Pretrial Services.        In the event the defendant does not respond to
21    electronic monitoring or cannot be found, the Pretrial Services
22    Officer shall forthwith notify the United States Marshals'
23    Service, who shall immediately find, arrest and detain the
24    defendant.     The cost of this program is to be paid by the
25    defendant unless this officer determines that the defendant is
26    unable to pay, and in such case the cost of this surveillance is
27    to be paid under a program established in accordance with 18
28    U.S.C. § 3154(11).        On a showing of necessity, the defendant may

      ORDER GRANTING MOTION FOR RECONSIDERATION OF DETENTION AND
      SETTING CONDITIONS OF RELEASE FOLLOWING BAIL REVIEW HEARING - 3
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1     obtain written permission to leave this area from the United
2     States Probation Office.        The defendant shall not be released from
3     custody until the home electronic monitoring is in place.
4           13.   The Defendant shall post a $40,000 property bond which
5     must be approved by the Court before defendant’s release.
6           You are advised that a violation of any of the foregoing
7     conditions of release may result in the immediate issuance of a
8     warrant for your arrest, revocation of your release and
9     prosecution for contempt of court which could provide for
10    imprisonment, a fine or both.          Specifically, you are advised that
11    a separate offense is established by the knowing failure to appear
12    and that an additional sentence may be imposed for the commission
13    of a crime while on this release.           In this regard, any sentence
14    imposed for these violations is consecutive to any other sentence
15    you may incur.
16          DATED this 30th day of January, 2008.
17
18
                                                      s/James P. Hutton
19                                                      JAMES P. HUTTON
                                                  UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING MOTION FOR RECONSIDERATION OF DETENTION AND
      SETTING CONDITIONS OF RELEASE FOLLOWING BAIL REVIEW HEARING - 4
